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                                              Case No. 4:23-cv-00371



                           UNITED STATES COURT OF APPEALS
                                FOR THE FIFTH CIRCUIT



Lewis Brooks McKenzie,                                          )        In a removal from the 233rd
                                                                )        Judicial
Plaintiff - Appellant                                           )        District Court of Tarrant County,
                                                                )        TX
v.                                                              )        State case number: 233-651265-18
                                                                )
                                                                )
STATE OF TEXAS, HOLLY HAYES,                                             FORMAL DEMAND FOR JURY TRIAL
and KELLI MARIE (RAYBURN)
MCKENZIE,                                                                CONSTITUTIONAL CHALLENGES
                                                                )
Defendant-Respondents.                                          )        INJUNCTIVE RELIEF REQUESTED
                                                                )

             Appellant Lewis Brooks McKenzie's Appeal of Remand

     Comes now Appellant, Lewis Brooks McKenzie, pro se, demonstrating more

than mere “good cause” in moving to appeal, by stating thusly:


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      TRUE NATURE OF CASE VS. FLAWED CASE PROCEEDINGS

                                  [True Nature of Case]

  On 17 April 2023, the undersigned Petitioner-Appellant filed Section 1443

removal in the district court (ECF 1), formally raising specific facial challenges to

state statutes of Defendant Texas (ROA.103-106), as absolutely required for the

core validity of any Section 1443 removal (which must be based upon facial

challenges to state statutes), and together with removal also as an original civil

action raising fully independent and specifically-identified federal causes of action

inextricably intertwined with the very same constitutional challenges raised against

the very same state statutes of Defendant Texas and generally about all of the same

intertwined matters, including claims separately raised specifically under the

federal Consumer Credit Protection Act, the federal False Claims Act, and for

racial (and gender) discrimination within public facilities in violation of 42 USC

§§ 1981 and 2000b-2, (ROA.022-023, ROA.041-043, ROA.046-047, and etc...).

See also, the Memorandum for Clerk (ECF 6), i.e., for the intake clerk, which

is also further entitled as a summary overview of the entire case for the ease of the

district court and all parties.

  Within the original removal petition itself, I did formally, specifically and duly

allege complaining facts about racial discrimination occurring directly within the

case context.



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  Within the original removal petition itself, I formally, specifically and duly cited

to applicable federal statutes that prohibit such racial discrimination (again, 42

USC §§ 1981 and 2000b-2).

  Accordingly, by the original removal hybrid petition-complaint itself, I had

already satisfied the established elements to proceed with Section 1443 removal

jurisdiction, namely that I had raised claims under a federal law “providing for

specific civil rights stated in terms of racial equality” (again, 42 USC §§ 1981 and

2000b-2), and that I had also shown the exception for manifest expression of state

law in demonstrating that “an equivalent basis could be shown for

an   equally     firm     prediction       that    the    defendant      would     be

‘denied or cannot enforce’ the specified federal rights in

the state court” Johnson v. Mississippi, 421 U.S. 213, 421 (1975).

  I also filed formal challenges to 28 USC § 1443 itself (ROA.107-110) to legally

induce appearance and engagement in these matters by the US-AG and/or local US

Attorney.

  Upon all four (4) said legal triggers, by that point Statutory Intervenor United

States had: (1) an option to intervene, (2) a duty to intervene, (3) another option to

intervene, and (4) another duty to intervene, respectively, under the Consumer

Credit Protection Act, under the False Claims Act, regarding both racial and




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gender discrimination within public facilities, and to defend the constitutionality of

federal statute 28 USC § 1443.

  Filing said removal under Section 1443 in the nature of a quasi-class action

lawsuit (statewide challenge in essence of nature, but focused and narrowly-

tailored to facial challenges against state statutes), never even ONCE did I ever

raise any complaint whatsoever, or any argument whatsoever, or any request for

relief whatsoever, in regards to any one or more particular state court orders or

judgments, ever (ECF, passim), as the action filed in the district court was never

about any particular event within my personal state court case -- via removal

and required federal facial challenges to state statutes -- that my entire state

court case is entirely void ab initio and should not even exist... at all..., because it

is entirely based upon those very same state statutes herein facially challenged

for clear unconstitutionality.

                            [Flawed Case Proceedings]



  The district court refused its clear duties and never issued out either of the

statutorily-required certifications to TX-AG Paxton or to US-AG Garland, and

none of opposing counsel ever addressed that required duty (ECF, passim), in any

way, shape or form (ECF, passim), as the object of their joint obstruction of

justice was always to ignore, conceal and cover-up those facial challenges to Texas



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statutes, and likewise to ignore, conceal and cover-up the fact that I had also and

independently raised parallel claims on the same facial challenges via the CCPA,

the FCA, and regarding racial and gender discrimination in public facilities.

  Neither the district court, nor any Defendant-Appellees, ever once addressed any

aspect of the formal facial challenges I had duly raised against Defendant Texas'

state statutes, in any way, shape or form, as the object of their joint obstruction of

justice was always to ignore, conceal and cover-up those facial challenges to Texas

statutes, and likewise to ignore, conceal and cover-up the fact that I had also and

independently raised parallel claims on the same facial challenges via the CCPA,

the FCA, and regarding racial and gender discrimination in public facilities.

  Throughout the entirety of the district court proceedings, all same counsel

(acted unethically in joint conspiracy to continuously and repeatedly deceive the

district court judicial officers, by all said counsel continuously arguing

frivolously about my own personal state court case removed, as if I was

“improperly” in a federal court to try attacking particular state court

judgments, but could not identify any particular ostensible state court order that I

was supposedly attacking, because I simply was not and never did seek any relief

regarding any particular state court order, whatsoever, ever.

  Since the goal and object of my facial challenges to state statutes within Section

1443 removal are the same as every other valid removal case in history -- that the



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entire state court case be invalidated in its entirety for being unconstitutionally

based upon repugnant state statutes, that declaratory relief, brought in quasi-class

action nature on behalf of all similarly-situated citizens of Texas, is the only

declaratory relief I need, as rendering void ab initio my entire state case covers

everything I could have claimed via a personal damages lawsuit on its own, hence

there was never any need to attempt any collateral attack against any particular

state court case order(s) whatsoever.

  Nevertheless, all same counsel below (and also listed herein) continued

their manifest fraud upon the court, taking their wholly false and frivolous

arguments about me supposedly attacking particular state court orders to the

point wherein they also went to great and extraordinary lengths to further argue

frivolously and falsely that various abstention doctrines should apply -- which

same material fraud upon the court was joined by the magistrate in his report

and recommendations (ECF 25), and which same material fraud upon the court

was expressly approved and adopted by the district court judge via his final

opinion (ECF 32).

  Of course, abstention doctrines, when they actually do apply, still are

only sometimes applicable in federal cases where the petitioner or plaintiff is

actually attacking one or more particular state court orders, but also, of course,

abstention doctrines do not apply, whatsoever, to cases or causes of action that

are statewide class action challenges in their nature and/or otherwise filed on
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behalf of a class of
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similarly-situated victims, and further, abstention doctrines simply do not apply,

and cannot apply, in the context of my duly raised claims under the CCPA, under

the FCA, and for racial and gender discrimination in public facilities, as all three

(3) of those causes of action were and are original federal jurisdiction.

  The simple fact of the matter herein is that, still to this very day, I have never yet

even been heard upon my de jure claims actually filed and presented, I have never

yet been afforded any meaningful review of my same claims duly raised, and

indeed, the lower district court proceedings were fraught with all manner of

obstruction of justice, by all manner of knowing and intentionally fraudulent

misrepresentations, all in order to *prevent* my actual claims duly raised from

ever being heard... at all... ever.




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                           FRAUD UPON THE COURT

  Mr. Graydon’s motion to dismiss appeal was also fraudulent on its face, as he

violated the above substantive motion rule requirement to include a full copy of the

district court opinion because it contradicts his attempt to mislead and deceive this

Court via various falsified facts he unethically misrepresented in his motion:

  --- he falsely argued “failed” removal requirements, when actually I did not, nor

was that the extent of the district court final order (ROA.867-869) (the same is also

Exhibit B attached hereto), which Mr. Graydon admitted (see his motion to

dismiss appeal, at 2) was in approval and adoption of the magistrate’s report and

recommendations, which requires raising issues for appeal via the Objections that I

filed (ROA.835-866), and therefore the appeal issues herein include every issue

therein, which I did not abandon, and did raise via my opening Brief herein;

  --- nor did I bring appeal *only* upon what the district court did do, but also for

what the district court failed to do, like utterly failing my right to a competent, fair

and impartial tribunal, like providing any of my actual claims the right to even be

heard, at all, nor affording any scintilla of my right to actual meaningful review of

any of my filings, all of which issues are not waived because they have, in fact,

been briefed by my opening Brief of Appellant -- and see also my Formal Request

for Judicial Notice filed herewith today, for more failures of the trial court process;




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  --- he falsely argued that Texas is not a party, which is the most ridiculously

false and fraudulent allegation of them all, as Mr. Graydon knows Defendant

Texas was duly served with full removal package of all initial papers along with

standard federal waiver of service forms, which is why he appeared in the first

place…, he also clearly further knew and knows that facial challenges were raised

herein below against Defendant Texas’ state statutes, and he also clearly knows, by

virtue of his employment, that only the TX-AG may defend the constitutionality of

Texas state statutes, and that the TX-AG also has a duty to so defend. See, e.g.,

TX Const., Art. 4, Sec. 22, and TX Gov’t Code, Chp. 402, Sec. 402.021.

  Accordingly, for these reasons alone, the Court’s entry of dismissal of appeal,

induced solely by a wholly fraudulent motion to dismiss designed to conceal and

deceive the true nature of this case, should be vacated, recalled, or otherwise set

aside, modified and/or superseded.


               NO VALID AUTHORITY TO FILE ANYTHING

  Mr. Graydon was and is also without valid legal representational authority

herein to file or respond to anything, as are all other presently-listed counsel for

various Appellees.

  As discussed above, each of them willfully perpetrated such egregious levels of

gross misconduct against their established ethical duties, some of which same

wholly illicit acts by each of them also constitute various (“white collar”) felony

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crimes, that as part of oppositional responses to each of their obstructionist motions

to remand, they were duly notified and instructed to comply with their legal duty to

then promptly withdraw from these same matters.            See, e.g., my Response

(ROA.585-628) filed to Mr. Graydon’s such equally fraudulent motion to remand,

as well as all my other responses to all other motions to remand (ROA, passim).

  Hence, all same attorneys were duly required to withdraw from these matters,

back then, at those times, pursuant to Rule 1.15(a)(1) of the Texas Disciplinary

Rules of Professional Conduct, and none of them have any valid legal

representational authority herein to have filed anything whatsoever in this appeal.


                    FORMAL REQUEST FOR JUDICIAL NOTICE

  See also, my Formal Request for Judicial Notice likewise filed today, which is

now incorporated herein by reference in its entirety the same as if it had been fully

set forth. (H.I.)


                                  CONCLUSION

  Accordingly, for any and/or all of the above good cause reasons, the Court’s

entry of dismissal of appeal, induced solely by a wholly fraudulent motion to

dismiss, designed to conceal and deceive the true nature of this case, that was

further filed by an attorney who neither had nor has any valid representational

authority herein, and that was even further insufficient for multiple violations of



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rules requirements for motions seeking substantive relief, should be now vacated,

recalled, or otherwise set aside, modified and/or superseded.

  I actually did satisfy the elements for Section 1443 removal, and Mr. Graydon’s

fraudulent motion to dismiss was not only false about that, but also confirms

likewise that the district court itself was erred upon that same matter, and while

reversal of the district court would be one option, it is because the district court

proceedings were so completely devoid of ever actually hearing my claims, at all,

let alone fully with any actual meaningful review, that the option this Court should

employ is one of these, to-wit, to either:

  --- find that the district court proceedings were clearly insufficient to develop an

  adequate and true record for purposes of proper appellate review, hence stay this

  appeal, and remand back to the district court for such further proceedings;

  --- find that the district court proceedings violated this Appellant’s due process

  rights to be heard, to meaningful review, and/or otherwise find similarly, hence

  reverse the district court, and remand back to the district court for such further

  proceedings;

  --- or, order any such other relief reasonable under the circumstances to compel

  said same such further proceedings.


  WHEREFORE, your Appellant now formally requests that this appeal be

reopened/reinstated, and upon good cause shown, and under the options suggested,

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moving the Court to find that the district court failed to perform an adequate job in

handling the instant removal with original federal claims, and therefore remand

back for all such further proceedings, or order substantially similar relief, and your

Appellant also hereby moves for all other relief true and just within these premises.


                                           Respectfully submitted,

                                           /s/ David E. O’Connor /s/
                                           ______________________________
                                           David E. O’Connor
                                           307 Angus Drive
                                           Cedar Park, TX 78613
                                           Tel: (512) 998-0313
                                           Email: 54guitlite96@att.net
                                           Plaintiff – Appellant




                           CERTIFICATE OF SERVICE

  I hereby certify: that on this __6th__ day of June, 2023, a true copy of the

above petition for rehearing, by automatic service of this Court’s filing system as

applicable, or by depositing same via first class postage prepaid mail, USPS or

equivalent postal carrier, is being duly served upon:

(Cross-Defendant State of Texas)           (Counter-Defendant Trish Ho)
c/o Scot M. Graydon, SBN 24002175          c/o Eric R. Little, SBN 24014596
Office of the Attorney General             Law Office of Eric R. Little
P.O. Box 12548, Capitol Station            219 Texas Avenue
Austin, TX 78711-2548                      Bacliff, TX 77518



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(Cross-Defendant Thompson etc.)           (Cross-Defendant Dalrymple etc.)
Thompson, Salinas & Londergan             Dalrymple, Shellhorse, Ellis & Diamond
c/o Michael B. Johnson, SBN 24029639      c/o Mike F. Pipkin, SBN 16027020
Thompson Coe Cousins & Irons              Weinstein Radcliff & Pipkin
2801 Via Fortuna, Suite 300               8350 N. Central Expressway, Suite 1550
Austin, TX 78746                          Dallas, TX 75206

(Cross-Defendants Soifer and Crump)       (Cross-Defendant Alissa Sherry)
c/o Anthony J. Nelson, SBN 14885800       c/o Leslie A. Benitez, SBN 02134300
Assistant County Attorney                 Gordon Rees Scully & Mansukhani
Travis County Attorney’s Office           901 S. Mopac Expressway
P.O. Box 1748                             Building 1, Suite 480
Austin, TX 78767                          Austin, TX 78746

(Statutory Intervenor United States)      (Statutory Intervenor United States)
c/o U.S. Atty General Merrick Garland     c/o U.S. Attorney Ashley C. Hoff
Office of the U.S. Attorney General       Office of the U.S. Attorney TXWD
U.S. Department of Justice                903 San Jacinto Blvd
950 Pennsylvania Avenue, NW               Suite 334
Washington, DC 20530-0001                 Austin, TX 78701


  and, that I further certify that, on this same __6th__ day of June, 2023, the same

foregoing petition for rehearing is timely filed as a PDF via the Court’s e-filing

system pursuant to 5th Circuit Rules 25.2.4 and 26.1, and that follow-up of the

requisite number of true and complete copies of the foregoing petition for

rehearing, by depositing said copies via “overnight” or similar express and tracked

first-class United States mail or equivalent carrier, postage prepaid, has been duly

served upon:

Lyle W. Cayce, Clerk
Fifth Circuit Court of Appeals
600 S. Maestri Place
New Orleans, LA 70130

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Note: Since the United States has yet to ever formally enter the case, no electronic
means of service are available, so both above recipients for Statutory Intervenor
United States are served only via hardcopy paper versions via mail or equivalent.


                                          /s/ David E. O’Connor /s/
                                          ______________________________
                                          David E. O’Connor



                  CERTIFICATE OF FORMAT COMPLIANCE

  1. This formal request complies with the type-volume limitation of

Fed.R.App.P. 32(a)(7)(B) because it contains __2642__ words, excluding the parts

exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

  2. This formal request complies with the typeface requirements of Fed.R.App.P.

32(a)(5) and the type style requirements of Fed.R.App.P. 32(a)(6) because it has

been prepared in a proportionally spaced typeface using Microsoft Word in 14-

point Times New Roman.


                                          /s/ David E. O’Connor /s/
                                          ________________________
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                                          307 Angus Drive
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                                          Email: 54guitlite96@att.net
                                          Plaintiff – Appellant


                                          Dated: ___June 6th, 2023___


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